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 11                       UNITED STATES DISTRICT COURT

 12                      CENTRAL DISTRICT OF CALIFORNIA

 13   SERENA FLEITES,                             CASE NO. 2:21-cv-4920
 14                 Plaintiff,                    [PROPOSED] ORDER GRANTING
                                                  APPLICATION FOR LEAVE TO
 15        vs.                                    FILE UNDER SEAL REDWOOD
                                                  DEFENDANTS’ REPLY IN
 16   MINDGEEK S.A.R.L. a foreign                 SUPPORT OF MOTION TO
      entity; MG FREESITES, LTD., a               DISMISS PLAINTIFF’S SECOND
 17   foreign entity; MINDGEEK USA                AMENDED COMPLAINT
      INCORPORATED, a Delaware
 18   corporation; MG PREMIUM LTD, a
      foreign entity; MG GLOBAL
 19   ENTERTAINMENT INC., a
      Delaware corporation; 9219-1568
 20   QUEBEC, INC., a foreign entity;
      BERND BERGMAIR, a foreign
 21   individual; FERAS ANTOON, a
      foreign individual; DAVID
 22   TASSILLO, a foreign individual;
      VISA INC., a Delaware corporation;
 23   REDWOOD CAPITAL
      MANAGEMENT, LLC, a Delaware
 24   corporation; REDWOOD MASTER
      FUND, LTD, a foreign entity;
 25   REDWOOD OPPORTUNITY
      MASTER FUND, LTD, a foreign
 26   entity; MANUEL 2018, LLC, a
      Delaware corporation;
 27   GINGOGERUM, LLC, a Delaware
      corporation; WHITE-HATHAWAY
 28   OPPORTUNITY FUND, LLC, a

                                      [PROPOSED] ORDER
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  1   Delaware corporation; COLBECK
      CAPITAL MANAGEMENT, LLC, a
  2   Delaware corporation; CB MEDIA
      VENTURES LLC, a Delaware
  3   corporation; CB AGENCY
      SERVICES, LLC, a Delaware
  4   corporation; and CB
      PARTICIPATIONS SPV, LLC, a
  5   Delaware corporation,
  6                 Defendants.
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                                  [PROPOSED] ORDER
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  1         On December 6, 2024, Defendants Redwood Capital Management, LLC,
  2   Redwood Master Fund, Ltd, Redwood Opportunity Master Fund, Ltd, Manuel 2018,
  3   LLC, Ginogerum, LLC, and White-Hathaway Opportunity Fund, LLC (the
  4   “Redwood Defendants”) filed an Application for Leave to File Under Seal Redwood
  5   Defendants’ Reply in Support of Motion to Dismiss Plaintiff’s Second Amended
  6   Complaint (the “Application”) in this matter pursuant to Local Rule 79-5.2.2.
  7         The Court, having considered all papers filed in support of and in opposition
  8   to Redwood Defendants’ Application and all other pleadings and papers on file herein,
  9   IT IS HEREBY ORDERED that Defendants’ Application is GRANTED.
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 11         IT IS ORDERED THAT:
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            The unredacted version of the Redwood Defendants’ Reply in Support of
 13
      Motion to Dismiss Plaintiff’s Second Amended Complaint is to be filed under seal.
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 17    Dated:
 18                                                HON. WESLEY L. HSU
                                                   UNITED STATES DISTRICT JUDGE
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                                      [PROPOSED] ORDER
